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September 4, 2020

VIA ECF

The Honorable George B. Daniels

United Stated District Judge SO ORDERED:

Southern District of New York Gus LB

500 Pearl Street Zo Danae

New York, NY 10009 AGoreeB. Daniels, USD).

Dated: bpm |

 

RE: Virtu Financial, Inc. v. AXIS Insurance Co.
No.: 1:20-cv-06293, Application for Order Allowing Redactions

Dear Judge Daniels:

We represent Plaintiffs Virtu Financial, Inc. and Virtu Americas, LLC. (collectively
‘Virtu”) in the above-referenced case. I write pursuant to Your Honor’s Individuals Rules of
Practice respectfully to request an order allowing Virtu to redact certain sensitive information
from its Motion for Partial Summary Judgment.

Virtu’s lawsuit concerns a claim for insurance coverage arising out of a computer
systems fraud. Specifically, after a successful hacking campaign, one or more hackers took over
the email account of a Virtu executive and, pretending to be the executive, directed Virtu’s
accounting department to transfer approximately $10.8 million to two overseas accounts.

Virtu’s Motion for Partial Summary Judgment provides certain technical details that
explain how the hackers were able to perpetrate the fraud. In the interest of preventing future
similar frauds—not only of Virtu’s computer systems but also of computer systems of other
financial institutions—Virtu respectfully requests that the Court grant Virtu leave to redact this
sensitive information.

Respectfully,

Mh k Wh

Robin L. Cohen

McKool Smith
A Professional! Corporation * Attorneys

Austin | Dallas | Houston | Les Angeles | Marshall | New York | Washington, DC

 

 

 
